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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 19-893-GW(SKx)                                             Date      September 12, 2019
 Title             Kimberly Boyle v. Adler and Associates Entertainment, LLC, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                          Anne Kielwasser
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      Lawrence J. Zerner                                    Amy B. Lawrence
                                                                             Brett H. Oberst
 PROCEEDINGS:                 DEFENDANT ADLER & ASSOCIATES ENTERTAINMENT, LLC'S
                              MOTION TO COMPEL ARBITRATION AND TO DISMISS AND/OR
                              STAY THE LITIGATION [25]


Court hears further argument. Based on the Tentative issued on July 15, 2019, and for reasons stated on
the record, Defendant’s Motion to Compel is GRANTED. The Court stays this matter and sets a status
conference for June 15, 2020 at 8:30 a.m., with a joint status report to be filed by noon on June 10, 2020.




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                                                               Initials of Preparer   JG
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